           Case 1:17-vv-01345-UNJ Document 54 Filed 04/10/20 Page 1 of 7




    In the United States Court of Federal Claims
                                OFFICE OF SPECIAL MASTERS
                                           Filed: March 4, 2020
                                           Not For Publication

*************************
ROSANNA MASSUCCI,                          *       No. 17-1345V
                                           *
                      Petitioner,          *       Special Master Sanders
v.                                         *
                                           *
SECRETARY OF HEALTH                        *       Stipulation for Award; Influenza (“flu”)
AND HUMAN SERVICES,                        *       Vaccine; Shoulder Injury Related to
                                           *       Vaccine Administration (“SIRVA”)
                      Respondent.          *
*************************
Amy A. Senerth, Muller Brazil, LLP, Dresher, PA, for Petitioner.
Daniel A. Principato, United States Department of Justice, Washington, DC, for Respondent.

                                               DECISION1

        On September 27, 2017, Rosanna Massucci (“Petitioner”) filed a petition for compensation
pursuant to the National Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-10 to -34
(2012); Pet. at 1, ECF No. 1. Petitioner alleged that the influenza (“flu”) vaccine she received on
September 20, 2016, caused her to develop a shoulder injury related to vaccine administration
(“SIRVA”). See Stip. at 1, ECF No. 47; Pet. at 1. Petitioner further alleged that she experienced
the residual effects of her injury for more than six months. Stip. at 1.

         On March 3, 2020, the parties filed a stipulation in which they state that a decision should
be entered awarding compensation to Petitioner. Id. at 2. Respondent denies that the flu vaccine
caused Petitioner’s alleged SIRVA, or any other injury. Id. Nevertheless, the parties agree to the
joint stipulation, attached hereto as Appendix A. I find the stipulation reasonable and adopt it as
the decision of the Court in awarding damages, on the terms set forth therein.




1
  This decision shall be posted on the website of the United States Court of Federal Claims, in accordance
with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended
at 44 U.S.C. § 3501 note (2012)). This means the Decision will be available to anyone with access to
the Internet. As provided by Vaccine Rule 18(b), each party has 14 days within which to request redaction
“of any information furnished by that party: (1) that is a trade secret or commercial or financial in substance
and is privileged or confidential; or (2) that includes medical files or similar files, the disclosure of which
would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b).
2
  National Childhood Vaccine Injury Act of 1986, Pub L. No. 99-660, 100 Stat. 3755.
          Case 1:17-vv-01345-UNJ Document 54 Filed 04/10/20 Page 2 of 7



        The parties stipulate that Petitioner shall receive the following compensation:

                A lump sum of $57,452.29 in the form of a check payable to [P]etitioner.
                This amount represents compensation for all damages that would be
                available under 42 U.S.C. § 300aa-15(a).

Id.

       I approve the requested amount for Petitioner’s compensation. Accordingly, an award
should be made consistent with the stipulation.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the Clerk of
Court SHALL ENTER JUDGMENT in accordance with the terms of the parties’ stipulation.3

        IT IS SO ORDERED.

                                                          s/Herbrina D. Sanders
                                                          Herbrina D. Sanders
                                                          Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                      2
        Case 1:17-vv-01345-UNJ Document 54 Filed 04/10/20 Page 3 of 7




                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                           OFFICE OF SPECIAL MASTERS

                                               .)
 ROSANNA MASSUCCI,                              )      No. 17-1345V
                                                )      Special Master Sanders
                Petitioner,                     )      ECF
                                                )
        V.                                      )
                                                )
SECRETARY OF HEALTH AND                         )
HUMAN SERVICES,                                )
                                               )
     Respondent.                               )
_______________                                )

                                            STIPULATION

        The parties hereby stipulate to the following matters:

        1. Petitioner filed a petition for vaccine compensation under the National Vaccine Injury

Compensation Program, 42 U.S.C. § 300aa-l Oto 34 (the "Vaccine Program"). The petition

seeks compensation for injuries allegedly related to petitioner's receipt of the influenza ("flu"),

which vaccine is contained in the Vaccine Injury Table (the "Table"), 42 C.F.R. § 100.3(a).

        2. Petitioner received the flu vaccination on or about September 20, 2016.

       3. The vaccine was administered -within the United States.

       4. Petitioner alleges that she sustained a Shoulder Injury Related to Vaccine

Administration (SIRVA) within the time period set forth in the Table following administration of

the vaccine. She further alleges that she experienced the residual effects of her alleged injuries

for more than six months after vaccine administration.

       5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages as a result of her condition.
        Case 1:17-vv-01345-UNJ Document 54 Filed 04/10/20 Page 4 of 7




            6. Respondent denies that petitioner sustained a SIRVA Table injury; denies that the

 onset of her alleged injuries occurred within 48 hours of vaccine administration; denies that her

 alleged injuries persisted for more than six months following the vaccinations; and denies that

 her current condition is a seguelae of any vaccine-related injury.

            7. Maintaining their above-stated positions, the parties nevertheless now agree that the

 issues betw·een them shall b.e settled and that a decision should be entered awarding the

 compensation described in paragraph 8 of this Stipulation.

            8. As soon as practicable after an entry of judgment reflecting a decision consistent with

the terms of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-2 l(a)(l), the Secretary of Health and Human Services will issue

the following vaccine compensation payment:

        A lump sum of $57,452.29 in the form of a check payable to petitioner. This amount
        represents compensation for all damages that would be available under 42 U .S.C.
        § 300aa-15(a).

        9 . As soon as practicable after the entry of judgment on entitlement in this case, and after

petitioner has filed both a proper and timely election to receive compensation pursuant to 42

U.S.C. § 300aa-2 l(a)(l ), and an application, the parties will submit to further proceedings before

the special master to award reasonable attorneys' fees and costs incuned in proceeding upon this

petition.

        I 0. Petitioner and her attorney represent that they have identified to respondent all

known sources of payment for items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa-15(g), including State compensation programs, insurance policies,

Federal or State health benefits programs ( other than Title XIX of the Social Security Act (42

U.S .C. § 1396 et seq.)), or by entities that provide health services on a pre-paid basis.



                                                   2
          Case 1:17-vv-01345-UNJ Document 54 Filed 04/10/20 Page 5 of 7




           11. Payment made pursuant to paragraph 8 and any amounts awarded pursuant to

 paragraph 9 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa- 15(i), subject

 to the availability of sufficient statutory funds.

           12. The parties and their attorneys further agree -and stipulate that, except for any award

 for attorney's fees and litigation costs, and past unreimbursable expenses, the money provided

 pursuant to this Stipulation will be used solely for the benefit of petitioner as contemplated by a

 strict construction of 42 U.S.C. § 300aa-15(a) and (d), and subject to the conditions of 42 U.S.C.

 § 300aa-15(g) and (h).

          13 . In return for the payment described in paragraphs 8 and 9, petitioner, in her

individual capacity, and on behalf of her heirs, executors, administrators, successors and/or

assigns, does forever irrevocably and unconditionally release, acquit and discharge the United

States and the Secretary of Health and Human Services from any and all actions or causes of

action (including agreements, judgments, claims, damages, loss of services, expenses and all

demands of whatever kind or nature) that have been brought, could have been brought, or could

be timely brought in the Court of Federal Claims, under the National Vaccine Injury

Compensation Program, 42 U.S.C. § 300aa-10 et seq., on account of, or in any way growing out

of, any and all known or unknown, suspected or unsuspected personal injuries to or death of

petitioner resulting from, or alleged to have resulted from, the flu vaccine administered on or

about September 20, 2016, as alleged by petitioner in a petition for vaccine compensation filed

on or about September 27, 2017, in the United States Court of Federal Claims as petition No. 17-

l 345V.

          14. If petitioner should die prior to entry of judgment, this agreement shall be voidable

upon proper notice to the Court on behalf of either or both of the parties .



                                                      3
        Case 1:17-vv-01345-UNJ Document 54 Filed 04/10/20 Page 6 of 7




         15. If the special master fails to issue a decision in complete conformity with the terms

 of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity with a

decision that is in complete conformity with the terms of this Stipulation, then the parties'

settlement and this Stipulation shall be voidable at the sole discretion of either party.

        16. This Stipulation expresses a full and complete negotiated settlement ofliability and

damages claimed und er the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

        17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the flu vaccine caused petitioner's alleged SIRVA,

and/or any other injury.

        18 . All rights and obligations of petitioner hereunder shall apply equally to petitioner's

heirs, executors, administrators, successors, and/or assigns.

                                     END OF STIPULATION




                                                 4
               Case 1:17-vv-01345-UNJ Document 54 Filed 04/10/20 Page 7 of 7




       Respectfully submitted,

       PETITIONER:

        ~~Y7\~

       ROSANNA MASSUCCI


       ATTORNEY OF RECORD FOR                    AUTHORIZED REPRESENTATIVE
       PETITIONER:                               OF THE ATTORNEY GENERAL:


· ~                    Dk    \,,,_\,~ff of
      AMY A. SENERTH
      Muller Brazil, LLP                                 Director
      715 Twining Road, Suite 208                Torts Branch
      Dresher, PA 19025                          Civil Division
      Tel: (215) 885-1655                        U.S. Department of Justice
                                                 P.O. Box 146
                                                 Benjamin Franklin Station
                                                 Washington, DC 20044-0146


      AUTHORIZED REPRESENTATIVE                  ATTORNEY OF RECORD FOR
      OF THE SECRETARY OF HEALTH                 RESPONDENT:
      AL~D HUMA.c'\'. SERVICES:


       wcuct s~~J:!_1--
      TAMARA OVERBY                              DANIEL A. PRINCIPATO
      Acting Director, Division of Injury        Trial Attorney
      Compensation Programs                      Torts Branch
      Healthcare Systems Bureau                  Civil Division
      U.S . Department of Health                 U.S. Department of Justice
      and Human Services                         P.O. Box 146
      5600 Fishers Lane                          Benjamin Franklin Station
      Parklawn Building, Mail Stop 11 C-26       Washington, DC 20044-0146
      Rockville, MD 20857                        Tel: (202) 616-3662


      Dated:   ~ /'3/Z-QZ..O




                                             5
